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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


                        v.
                                                       Case No. 1:21-cr-287-1 (TNM)
 KEVIN SEEFRIED,

                        Defendant.


                                             ORDER

        The Court previously delayed Defendant Kevin Seefried’s reporting date pending the

D.C. Circuit’s decision in United States v. Fischer, No. 22-cr-3038, 2023 WL 2817988 (D.C.

Cir. Apr. 7, 2023). In Fischer, a majority of that panel rejected the defendant’s interpretation of

the Obstruction of an Official Proceeding count, significantly undermining what this Court

believed to be Mr. Seefried’s most viable appellate argument.

        Before the Court is a Joint Status Report setting out the parties’ positions on whether Mr.

Seefried’s reporting delay should continue. Upon consideration of the parties’ positions, the

Court hereby ORDERS Mr. Seefried to self-surrender to the Bureau of Prisons on or before May

31, 2023, no later than 2:00 p.m., with all other terms and conditions to remain the same until

then.

        SO ORDERED. The Clerk of Court is requested to transmit a copy of this Order to the

United States Probation Office.



                                                                                2023.04.21
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Dated: April 21, 2023                                 TREVOR N. McFADDEN
                                                      United States District Judge
